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B 2100A (Form 2100A) (12/15)

UNITED STATES BANKRUPTCY COURT

Southern District of Indiana

In re Carrie Vesta Jeffers 5 Case No. 18-03772

 

TRANSFER OF CLAIM OTHER THAN FOR SECURITY

A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee
hereby gives evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other
than for security, of the claim referenced in this evidence and notice.

 

 

U.S. Bank Trust, N.A., not in its individual capacity but U.S. Bank Trust National Association, not in its individual capacity but
solely as trustee for the RMTP Trust, Series 2021 BKM-TT _ solely as Trustee for the RMAC Trust, Series 2018G-CTT
Name of Transferee Name of Transferor
Name and Address where notices to transferee Court Claim # (if known): 4
should be sent: Amount of Claim: $70,237.08
Rushmore Loan Management Services Date Claim Filed: 07/16/2018

P.O. Box 55004 Irvine, CA 92619-2708

Phone: 888-504-6700 Phone: 888-504-6700
Last Four Digits of Acct #: 9889 Last Four Digits of Acct. #: 9889

 

 

Name and Address where transferee payments
should be sent (if different from above):

Rushmore Loan Management Services
P.O. Box 52708, Irvine, CA 92619-2708

Phone: 888-504-6700
Last Four Digits of Acct #: 9889

 

I declare under penalty of perjury that the information provided in this notice is true and correct to the
best of my knowledge and belief.

By:/s/ Michelle Ghidotti, Esq. Date:_ 04/23/2021
Transferee/Transferee’s Agent

 

 

Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 & 3571.
